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                                                                                               1/28/21
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA,                                              :
                                                                       :
                  -v-                                                  :   20-CR-505 (AJN)
                                                                       :
Andrew Joyner,                                                         :       ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

ALISON J. NATHAN, United States District Judge:

        A videoconference is scheduled in this matter via the CourtCall platform on February 5,

2021 at 11:00 A.M. Defense counsel will be given an opportunity to speak with the Defendant

by telephone for fifteen minutes before the sentencing proceeding begins (i.e., at 10:45 a.m.);

defense counsel will receive a call at the number listed on the public docket and that they should

notify chambers before the proceeding if they prefer to be called at a different number.

        To optimize the quality of the video feed, the Court, the Defendant, counsel for the

Defendant, and counsel for the Government will appear by video for the proceeding; all others

will participate by telephone. Due to the limited capacity of the CourtCall system, only one

counsel per party may participate. Co-counsel, members of the press, and the public may access

the audio feed of the conference by calling 855-268-7844 and using access code 67812309# and

PIN 9921299#.

        In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;

further, it should be used only at the time of the conference.
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       To optimize use of the CourtCall technology, all those participating by video should:

           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

Further, all participants must identify themselves every time they speak, spell any proper names

for the court reporter, and take care not to interrupt or speak over one another. Finally, all of

those accessing the conference — whether in listen-only mode or otherwise — are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.

       If CourtCall does not work well enough and the Court decides to transition to its

teleconference line, counsel should call 888-363-4749 and use access code 9196964#. (Members

of the press and public may call the same number, but will not be permitted to speak during the

conference.) In that event, and in accordance with the Court’s Emergency Individual Rules and

Practices in Light of COVID-19, available at https://www.nysd.uscourts.gov/hon-alison-j-nathan,

counsel should adhere to the following rules and guidelines during the hearing:

           1. Each party should designate a single lawyer to speak on its behalf (including
              when noting the appearances of other counsel on the telephone).

           2. Counsel should use a landline whenever possible, should use a headset instead of
              a speakerphone, and must mute themselves whenever they are not speaking to
              eliminate background noise. In addition, counsel should not use voice-activated
              systems that do not allow the user to know when someone else is trying to speak
              at the same time.

           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the


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              new participant and confirm that the court reporter has not been dropped from the
              call.

       If possible, defense counsel shall discuss the attached Waiver of Right to be Present at

Criminal Proceeding with the Defendant and return the completed form at least 24 hours prior

to the proceeding. Defense counsel may sign on the Defendant’s behalf if authorized by the

Defendant to do so.




       SO ORDERED.


Dated: January 28, 2021                           __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                               WAIVER OF RIGHT TO BE PRESENT AT
                               -v-
                                                                               CRIMINAL PROCEEDING
Andrew Joyner,
                                           Defendant.                             20-cr-505 (AJN)
-----------------------------------------------------------------X

Check Proceeding that Applies


____      Conference

          I have been charged in an indictment with violations of federal law. I understand that I have a right to be
          present at all conferences concerning this indictment that are held by a judge in the Southern District of New
          York, unless the conference involves only a question of law. I understand that at these conferences the judge
          may, among other things, 1) set a schedule for the case including the date at which the trial will be held, and
          2) determine whether, under the Speedy Trial Act, certain periods of time should be properly excluded in
          setting the time by which the trial must occur. I have discussed these issues with my attorney and wish to
          give up my right to be present at the conferences. By signing this document, I wish to advise the court that I
          willingly give up my right to be present at the conferences in my case for the period of time in which access
          to the courthouse has been restricted on account of the COVID-19 pandemic. I request that my attorney be
          permitted to represent my interests at the proceedings even though I will not be present.


Date:                ____________________________
                     Signature of Defendant


                     ____________________________
                     Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment, my
client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver form.
I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence. I
will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of the
proceedings, if requested.


Date:                ____________________________
                     Signature of Defense Counsel


                     ____________________________
                     Print Name




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Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                    Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date:




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